
The petition for belated appeal of the summary denial of petitioner's postconviction motion in the trial court is granted in circuit court case number 11-CF-736-A for review of the trial court's order of January 30, 2017.
The circuit court clerk shall treat this order as a notice of appeal, promptly certify same and return it to this court as with any notice of appeal, and a new appellate case number will be assigned to this appeal and an acknowledgment letter will issue at that time. The summary record shall be transmitted to this court when the certified copy of this order is returned by the trial court clerk.
After a new appellate case number is assigned and an acknowledgment letter has issued, this court will issue an order advising the appellant of the due date of the optional initial brief.
SILBERMAN, VILLANTI, and BADALAMENTI, JJ., Concur.
